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                                     UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF ALABAMA

 UNITED STATES OF AMERICA                                               §      JUDGMENT IN A CRIMINAL CASE
                                                                        §
 v.                                                                     §
                                                                        §      Case Number: 1:24-CR-00012-KD-B(1)
 JHYKEZ LABARRON ADAMS                                                  §      USM Number: 97605-510
 a/k/a Head                                                             §      Megan K. Allgood
                                                                        §      Defendant’s Attorney

THE DEFENDANT:
       pleaded guilty to Counts 1 and 2 of the Indictment
       on 06/14/2024
       pleaded guilty to count(s) before a U.S. Magistrate
       Judge, which was accepted by the court.
       pleaded nolo contendere to count(s) which was
       accepted by the court
       was found guilty on count(s) after a plea of not guilty

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

 Title & Section / Nature of Offense                                                                  Offense Ended        Count
 18:933.F Firearms Trafficking Conspiracy                                                             07/13/2023           1
 18:922O.F Illegal Possession Of A Machinegun                                                         07/13/2023           2




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

       The defendant has been found not guilty on count(s)
       Count 3      is        are dismissed on the motion of the United States

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.


                                                                 December 6, 2024
                                                                 Date of Imposition of Judgment




                                                                 s/Kristi K. DuBose
                                                                 Signature of Judge

                                                                 KRISTI K. DUBOSE
                                                                 UNITED STATES DISTRICT JUDGE
                                                                 Name and Title of Judge

                                                                 December 13, 2024
                                                                 Date
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DEFENDANT:                JHYKEZ LABARRON ADAMS
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                                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

57 months. Said term consists of 27 months, as to each of Counts 1 and 2, to be served concurrently in
1:24CR00012; six (6) months as to Count 1 in 1:24CR00029 and 24 months, as to Count 6 in 1:24CR00029, to be
served consecutively to each other and to the sentence imposed in Counts 1 and 2 in 1:24CR00012.

       The court makes the following recommendations to the Bureau of Prisons:




       The defendant is remanded to the custody of the United States Marshal.
       The defendant shall surrender to the United States Marshal for this district:

               at                                        a.m.               p.m.    on

                as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                             RETURN
I have executed this judgment as follows:


        Defendant delivered on                                     to _________________________________________________


at                                      , with a certified copy of this judgment.




                                                                                         UNITED STATES MARSHAL

                                                                      By
                                                                                         DEPUTY UNITED STATES MARSHAL
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                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: three (3) years as to each of Counts
1 and 2; said terms to run concurrently.


       Special Conditions:

1) the defendant shall submit his person, house, residence, vehicle(s), papers, [computers (as defined by 18 U.S.C.
Section 1030(e)(1)) or other electronic communications or data storage devices of media], business or place of
employment, and any other property under the defendant's control to a search, conducted by a United States
Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of release. Failure to submit to a search in accordance with this
condition may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
subject to searches pursuant to this condition.

No fine was imposed, as the defendant is unable to pay. A $100 special monetary assessment was imposed, as to
each of Counts One and Two, for a total SMA of $200.


                                                    MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon.
 4.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests, thereafter, as determined by the court.

              The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low
              Risk of future substance abuse. (Check, if applicable.)

 5.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
            of restitution. (check if applicable)
 6.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 7.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 8.         You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.




                                                   See Page 4 for the
                                        “STANDARD CONDITIONS OF SUPERVISION”
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                             STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and
identify the minimum tools needed by probation officers to keep informed, report to the court about, and bring
about improvements in your conduct and condition.

    1. The defendant must report to the probation office in the federal judicial district where you are authorized
        to reside within 72 hours of your release from imprisonment, unless the probation officer instructs you to
        report to a different probation office or within a different time frame.
    2. The defendant shall report to the probation officer in a manner and frequency directed by the court or
        probation officer.
    3. The defendant must not knowingly leave the federal judicial district where you are authorized to reside
        without first getting permission from the court or the probation officer.
    4. The defendant must answer truthfully the questions asked by your probation officer and follow the
        instructions of the probation officer.
    5. The defendant shall notify the probation officer at least 10 days prior to any change in residence or
        employment.
    6. The defendant must allow the probation officer to visit you at any time at your home or elsewhere, and
        you must permit the probation officer to take any items prohibited by the conditions of your supervision
        that he or she observes in plain view.
    7. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons.
    8. The defendant shall not associate with any persons engaged in criminal activity and shall not associate
        with any persons convicted of a felony unless granted permission to do so by the probation officer.
    9. The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned
        by a law enforcement officer.
    10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court.
    11. If the probation officer determines that you pose a risk to another person (including an
        organization/employer), the probation officer may require you to notify the person about the risk and you
        must comply with that instruction. The probation officer may contact the person and confirm that you
        have notified the person about the risk.
    12. The defendant shall support his or her dependents and meet other family responsibilities.
    13. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
        or administered.


Defendant’s Signature                                                       Date

U.S. Probation Officer’s Signature                                          Date
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                                        CRIMINAL MONETARY PENALTIES
        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth
on Page 6.

                            Assessment            Restitution              Fine            AVAA Assessment*             JVTA Assessment**
 TOTALS                           $200.00                  $.00                    $.00                 $.00                           $.00

        The determination of restitution is deferred until ____________. An Amended Judgment in a Criminal Case (AO245C) will
        be entered after such determination.

        The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

 If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified
 otherwise in the priority order or percentage payment column below. (or see attached). However, pursuant to 18 U.S.C. § 3644(i),
 all non-federal victims must be paid in full prior to the United States receiving payment.



        If applicable, restitution amount ordered pursuant to plea agreement $ _______________
        The defendant must pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Page 6 may be
        subject to penalties for default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               the interest requirement is waived for the           fine                               restitution
               the interest requirement for the                     fine                               restitution is modified as follows:



* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                                               SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

 A           Lump sum payment of $200.00, due immediately, balance due not later than ____________, or

             in accordance with                C,               D,                E, or             F below; or

 B           Payment to begin immediately (may be combined with                   C,                D, or                    F below); or

 C           Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                                 (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment;
             or

 D           Payment in equal     (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                               (e.g., months or years), to commence               (e.g., 30 or 60 days) after release from
             imprisonment to a term of supervision; or

 E           Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release
             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
             time; or

 F           Special instructions regarding the payment of criminal monetary penalties:
             It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 1 and
             2, which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments,
except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of
the court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

       Joint and Several

           Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
       loss that gave rise to defendant's restitution obligation.
       The defendant shall pay the cost of prosecution.
       The defendant shall pay the following court cost(s):
       The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
